Case 2:13-cr-00072-SPC-NPM Document 217-2 Filed 11/11/14 Page 1 of 30 PagelD 6067
Case: 14-12156 Date Filed: 11/06/2014 Page: 31 of 90
income, notwithstanding that the government’s own expert had calculated that
Hough had overreported her income for 2006.'* The jury also convicted Hough
on the conspiracy charge in count one. (CR 114; Appx. 42).

C. SENTENCING

Following trial, Maurer came up with a third version of her RAR that more
than doubled the tax loss figures to which she had testified at trial by attributing to
Hough and Fredrick for the first time more than $14.9 million in alleged “net
income” from the Saba Foundation and MUA from 2003 through 2007. (CR 162
Exh. 2; Appx. 72). The district court held a four-day sentencing hearing during
which Maurer testified and was cross-examined about her newest set of
calculations. Defense expert Rivera also testified, and colleagues of Hough made
statements in her support.

On May 9, 2014, the district court sentenced Hough to 24 months of
imprisonment and three years of supervised release. The court further ordered
Hough to pay restitution in the amount of $15,518,382, court costs in the amount

of $42,732.27, and a special assessment of $400. (CR 195; Appx. 91).

 

4 The district court subsequently granted the defense motion for a judgment of
acquittal on count seven, finding that no rational juror could have found the
evidence sufficient to prove the elements of that count beyond a reasonable doubt.
(CR 157; Appx. 62).

-20-
Case 2:13-cr-00072-SPC-NPM Document 217-2 Filed 11/11/14 Page 2 of 30 PagelD 6068
Case: 14-12156 Date Filed: 11/06/2014 Page: 32 of 90
V.

SUMMARY OF ARGUMENT

Hough’s convictions must be overturned because the evidence as to each
count was insufficient to support a finding of guilt beyond a reasonable doubt.
Even viewing the evidence in the light most favorable to the government, no
rational juror could have found that Hough owned the funds in the foreign accounts
or the medical schools and thus was responsible for U.S. tax on any unreported
income; indeed, with respect to ownership of the schools, all of the evidence was
to the contrary. The government also failed to present any evidence in support of a
number of essential predicate facts that it needed to establish in order to prove
Hough’s knowledge and intent and the existence of unreported income, as well as
the falsity of her answers on Schedule B. Just as the jury’s verdict on count seven
for the 2006 tax year was not based on any evidence and was overturned by the
district court, so too were the remaining counts of conviction improperly founded
on unsupported speculation and guesswork. Indeed, the jury’s blatantly
unsupported judgment on count seven was symptomatic of a far more widespread
breakdown in its ability to understand the evidence presented at trial and/or the
jury instructions, including the ultimate concept of reasonable doubt.

Even if this Court does not overturn Hough’s convictions, a new trial must
be granted because those convictions followed an unfair trial plagued by

government misconduct and improperly admitted evidence. Over defense

-21-
Case 2:13-cr-00072-SPC-NPM Document 217-2 Filed 11/11/14 Page 3 of 30 PageID 6069
Case: 14-12156 Date Filed: 11/06/2014 Page: 33 of 90

objection, the government was allowed to ask two of Hough’s three character
witnesses whether their opinion of Hough’s honesty would change if the
government proved her guilty of the charges. Despite the defense calling the
district court’s attention to binding case authority holding such cross-examination
of character witnesses to be violative of due process and the presumption of
innocence, the court refused to give a curative instruction and allowed the
improper questioning to continue. Given the central importance of the issue of
Hough’s credibility and character in this circumstantial case, and in accordance
with consistent authority from this and other circuits, the error was not harmless
and a new trial is required.

The district court also erred in admitting, over defense objection, statements
of alleged coconspirator David Fredrick. The absent Fredrick’s hearsay emails and
other out-of-court statements formed the focal point of the government’s proof of
the charged conspiracy. Because there was no substantial evidence independent of
those statements that established the existence of a tax conspiracy or Hough’s
membership in such a conspiracy, admission of the hearsay statements under the
coconspirator exception was improper.

If this Court does not overturn Hough’s convictions or order a new trial, then
Hough’s sentence must be vacated because the district court committed clear error
in determining the tax loss resulting from the offense. After finding that the
government’s entire theory underlying its expert’s ¢hird set of tax loss calculations

-22-
Case 2:13-cr-00072-SPC-NPM Document 217-2 Filed 11/11/14 Page 4 of 30 PagelD 6070
Case: 14-12156 Date Filed: 11/06/2014 Page: 34 of 90
was incorrect, the court nevertheless adopted those calculations based on its own
separate theory that had never been argued by either party and that rested on an
erroneous reading of the applicable regulations. The district court further clearly
erred in including in its criminal tax loss and restitution calculations income as to
which the government’s own expert admitted there was no evidence of Hough’s
knowledge and therefore no evidence of fraud.
VI.

ARGUMENT

A. HOUGH’S CONVICTIONS MUST BE OVERTURNED BECAUSE
THERE WAS INSUFFICIENT EVIDENCE THAT SHE CONSPIRED
TO DEFRAUD THE IRS OR THAT SHE KNOWINGLY AND
WILLFULLY FAILED TO REPORT INCOME ON HER TAX
RETURNS

1. Standard of Review

Whether there was sufficient evidence to support a conviction is reviewed de
novo. United States v. Jones, 601 F.3d 1247, 1267 (11th Cir. 2010). There is
insufficient evidence to support a conviction if, viewing the evidence in the light
most favorable to the prosecution, no rational trier of fact could have found each of
the essential elements of the crime beyond a reasonable doubt. United States v.
Thomas, 8 F.3d 1552, 1556 (11th Cir. 1993). “[I]f the evidence viewed in the light
most favorable to the prosecution gives equal or nearly equal circumstantial

support to a theory of guilt and a theory of innocence of the crime charged, then a

-23-
Case 2:13-cr-00072-SPC-NPM Document 217-2 Filed 11/11/14 Page 5 of 30 PagelID 6071
Case: 14-12156 Date Filed: 11/06/2014 Page: 35 of 90

rational jury must necessarily entertain a reasonable doubt” and the evidence is
therefore insufficient. Cosby v. Jones, 682 F.2d 1373, 1383 (11th Cir. 1982).

2. Conspiracy to Defraud the United States (Count One)

 

The Klein conspiracy charge required the government to prove beyond a
reasonable doubt a “common agreement” with the specific purpose of violating the
law by defrauding the IRS, “established by evidence of actual knowledge by each
participant.” United States v. Kottwitz, 614 F.3d 1241, 1265 (11th Cir.), opinion
vacated in other part on rehearing, 627 F.3d 1383 (11th Cir. 2010). The requisite
knowledge of the object of the conspiracy “must be established by evidence that
each alleged conspirator knew that the scheme would culminate in the filing of
false tax returns.” Id. Moreover, “[i]f the conspiracy evidence is circumstantial, it
must warrant a jury finding that the conspirators operated with a common design
with unity of purpose to impede the IRS based on reasonable inferences, and not
mere speculation.” /d. (internal quotations and citations omitted) (emphasis in
original); see Ingram v. United States, 360 U.S. 672, 680, 79 S. Ct. 1314 (1959) (to
prove conspiratorial intent, evidence of knowledge must be clear and unequivocal,
and cannot consist of “piling inference upon inference”).

Here, the government’s purported proof of the charged conspiracy was
entirely circumstantial and was insufficient to support a finding that Hough had the
specific intent to defraud the IRS and knowingly entered into an agreement with

Fredrick to achieve that end. This was not a question of credibility; a rational juror

-24-
Case 2:13-cr-00072-SPC-NPM Document 217-2 Filed 11/11/14 Page 6 of 30 PagelID 6072
Case: 14-12156 Date Filed: 11/06/2014 Page: 36 of 90

could have fully believed every one of the government’s witnesses and still been
left with no basis for finding beyond a reasonable doubt that Hough entered into an
agreement with the specific purpose of defrauding the IRS. There was no
witness who testified that Hough was a tax cheat, was dishonest, or ever said
anything about wanting or trying to evade taxes or defraud the IRS; to the contrary,
Hough’s accountant Thomas Murtha (a government witness) testified that Hough
was conservative and conscientious about her taxes and corrected her own mistake
on one occasion by filing an amended return that increased her tax liability.
(10/10/13 RT 55-56, 63-64; Appx. 365-66, 371-72). School accountant David
Minchenberg (another government witness) testified that Hough wanted to be in
compliance with her tax obligations and fully cooperated with him in preparing her
Form 5471 with respect to her interest in Round Hill Project Holding Company,
which was inconsistent with someone trying to keep her foreign ownership a secret
from the IRS.’° (10/11/13 RT 119-20, 142, 149-50; Appx. 448-52).

Indeed, rather than supporting a criminal objective of defrauding the IRS,
the only evidence presented by knowledgeable, percipient witnesses regarding the
purpose (or, more to the point, Hough’s understanding of the purpose) of moving
funds offshore and putting accounts in names of different entities was that those

actions were undertaken to protect the assets of the Saba Foundation and the

 

'S Form 5471 is an informational return to be filed by any person who maintains an
ownership interest in a foreign entity. (10/10/13 RT 261-62; Appx. 421-22).
-25-
Case 2:13-cr-00072-SPC-NPM Document 217-2 Filed 11/11/14 Page 7 of 30 PagelID 6073
Case: 14-12156 Date Filed: 11/06/2014 Page: 37 of 90

schools from being seized in response to litigation. Significantly, this was testified
to not only by Hough, but by the government’s own witness Dr. Paul Dalbec, the
chairman of the Saba School’s board of trustees. (10/15/13 RT 147-55; Appx.
539-47). This evidence of the legitimate asset-protection reason for moving the
schools’ funds abroad was uncontradicted by any other testimony or document
introduced at the trial.

The only witness testimony that the government argued supported a finding
that Hough agreed and intended to defraud the IRS was her accountant Thomas
Murtha’s statement that he “would have” asked Hough during an initial interview
in 2001 or 2002 whether she had a foreign bank account and that he “believed” she
answered no (while acknowledging that “I can’t recall at this moment the exact
conversation I had,” conceding that it was not his practice to ask such a question of
preexisting firm clients such as Hough, and speculating as to how he “probably
would have asked the question”). (10/9/13 RT 239-40; 10/10/13 RT 44-50; Appx.
344-45, 356-62). Murtha was consistent, however, that he had never asked Hough

whether she had signature authority over a foreign bank account.'® (10/9/13 RT

 

'® The government claimed in closing argument that Hough had denied to Murtha
in 2009 having signature authority over a foreign bank account. (10/23/13 RT 39;
Appx. 999). This statement is demonstrably false, as Murtha testified that he never
even asked Hough that question. (10/9/13 RT 240; 10/10/13 RT 50-52; Appx. 345,
362-64). Moreover, even had the question been asked, a “No” answer would have
been entirely truthful, as all foreign accounts over which Hough had signature
authority had been closed by the end of 2008. (10/21/13 RT 229-30; Appx. 916-
17).

-26-
Case 2:13-cr-00072-SPC-NPM Document 217-2 Filed 11/11/14 Page 8 of 30 PagelD 6074
Case: 14-12156 Date Filed: 11/06/2014 Page: 38 of 90

240; 10/10/13 RT 50-52, 92; Appx. 345, 362-64, 383). Moreover, even accepting
that Hough made the statement that Murtha conditionally and equivocally
attributed to her, it does not prove beyond a reasonable doubt that she intended to
obstruct the IRS; indeed, given Murtha’s undisputed failure to inquire about
signatory authority, a response that Hough did not “have” foreign accounts would
have been 100% consistent with her testimony that she believed the accounts
belonged to the Saba Foundation and not to her personally.

Nor was there any documentary evidence to compensate for the lack of
witness testimony establishing Hough’s knowledge of the object of the charged
conspiracy. Indeed, there was not a single document among the thousands of
pages of bank records, emails, and other correspondence introduced at trial that
had anything to do with the IRS.'” In opposing Hough’s Rule 29 motion, and
again in closing argument to the jury, the government relied on correspondence
from Fredrick (not from Hough or even copied to Hough) that referenced closing
the accounts in the Bahamas because of “changes in US & Bahamas banking
policies.”'® (Exhs. 3P pp.5-6, 3HH p.2; 10/21/13 RT 23-24; 10/23/13 RT 18-19;

Appx. 164-65, 195, 821-22, 978-79). The government, however, never offered any

 

'” As the district court correctly noted when the government claimed that there
were emails discussing Hough’s and Fredrick’s desire not to disclose their
accounts to the IRS, no such emails exist. (10/21/13 RT 23; Appx. 821).
'8 Although the referenced letter has both Fredrick’s and Hough’s names typed at
the bottom, it is not signed by Hough, it appears on Fredrick’s letterhead, and the
phrasing of the letter (“my wife and I’) makes clear that it was written by Fredrick
alone. (Exh. 3P p.6; Appx. 165).

-27-
Case 2:13-cr-00072-SPC-NPM Document 217-2 Filed 11/11/14 Page 9 of 30 PageID 6075
Case: 14-12156 Date Filed: 11/06/2014 Page: 39 of 90

evidence as to what the referenced changes in banking policies were, instead
asking the jury to speculate that they related to a tax purpose of the conspiracy
without any supporting evidence.'” (10/23/13 RT 19; Appx. 979). Moreover, even
were there any basis to infer that Fredrick had a tax evasion purpose in moving
accounts from the Bahamas to Switzerland, there was no evidence that Hough
shared that purpose or was even aware of the communications that the government
claimed reflected her knowledge of and agreement to participate in a conspiracy to
defraud the United States.

The only documents written or signed by Hough on which the government
relied to establish her knowledge of the object of the conspiracy were: (1) the
“Form A” account opening documents bearing Hough’s signature and identifying
her as a beneficial owner of some of the accounts, as to which the evidence
established that at least one (and possibly all) was signed in blank, and which in
any event revealed utterly nothing about Hough’s purpose in opening the accounts
and signing the documents (Exhs 3GG p.1, 3R p.1; Appx. 166, 193); (2) Hough’s
July 8, 2003 email to prospective school buyers about stock issuance concerns and
forming an LLC, which had nothing whatsoever to do with the charged conspiracy

(Exh. 61; Appx. 221B); (3) a letter of intent executed by Hough and Fredrick on

 

The only evidence in the record of what the “changes in banking policies” were
is a file note by Luetolf stating that UBS Bahamas “no longer takes U.S. clients” —
an explanation that has nothing to do with the IRS or tax evasion. (Exh. 3S p.23;
Appx. 170).

-28-
Case 2:13-cr-00072-SPC-NPM Document 217-2 Filed 11/11/14 Page 10 of 30 PageID 6076
Case: 14-12156 Date Filed: 11/06/2014 . Page: 40 of 90

July 7, 2003, which stated that they collectively and “directly or indirectly” held
“the controlling interest in MUA/Nevis, SABA and 50% of MUA Belize” (again,
this had nothing to do with the object of the alleged conspiracy) (Exh. 6D; Appx.
213); (4) Hough’s March 2004 correspondence confirming Fredrick’s request to
split the existing Fredrick/Hough account into two accounts, which was devoid of
any explanation of why Hough understood this was being done by Fredrick and
had nothing to do with defrauding the IRS (Exh. 3HH p.27; Appx.197); (5) the
voluminous purchase agreements with Equinox Capital, which Steven Rodger
testified he negotiated with Fredrick and did not know if Hough ever read, and
which again revealed absolutely nothing about Hough agreeing with anyone to
defraud the IRS (Exhs. 10A, 10B, 10C); and (6) the guaranty executed by Fredrick
and Hough in connection with the Equinox sale, which yet again had no bearing on
whether Hough had the specific intention of entering into an agreement to defraud
the IRS (Exh. 11A; Appx. 275A). (10/16/13 RT 77-78, 86; 10/23/13 RT 16-17,
20-24, 31-32; Appx. 609-11, 976-77, 980-84, 991-92).

Thus, the jury was faced with two possible interpretations of Hough’s
mental state with respect to whether she knowingly entered into an agreement with
the specific objective of defrauding the IRS. On one side was Hough’s account of
her legitimate asset-protection purpose, supported by percipient eyewitness
testimony presented in the government’s own case-in-chief and unrebutted by any
other testimony or document presented at trial. On the other side was the

-29-
Case 2:13-cr-00072-SPC-NPM Document 217-2 Filed 11/11/14 Page 11 of 30 PageID 6077
Case: 14-12156 Date Filed: 11/06/2014 Page: 41 of 90

government’s version, which was not based on any witness testimony, any
statement by Hough, or any document signed by Hough, but rather required (1)
piling supposition upon speculation with respect to ambiguous documents never
signed by or brought to the attention of Hough; and (2) imputing the absent
defendant Fredrick’s purported knowledge and intent to Hough without any
evidentiary basis for doing so. See United States v. Mendez, 528 F.3d 811, 814
(11th Cir. 2008) (“When the government relies on circumstantial evidence,
reasonable inferences, not mere speculation, must support the conviction.”); United
States v. Veal, 703 F.2d 1224, 1229 (11th Cir. 1983) (“The crime of conspiracy by
its very nature may lead to an improper jury finding of guilt by association with
those found to be participants in the conspiracy. ... This danger of transferred
guilt is acute in this case where the evidence against the sole remaining defendant
repeatedly refers to his relationship with persons who have suddenly and
unexplainedly disappeared from the trial. The potential prejudice of such an
occurrence is obvious.” (internal quotations and citation omitted)).

Even if the evidence viewed in the light most favorable to the government
lent equal circumstantial support to these competing theories, then a rational juror
must necessarily have entertained a reasonable doubt as to whether Hough
knowingly agreed to achieve the charged object of the conspiracy. See Cosby, 682
F.2d at 1383. Accordingly, the evidence was insufficient to support the conspiracy
conviction. See United States v. Adkinson, 158 F.3d 1147, 1159 (11th Cir. 1998)

-30-
Case 2:13-cr-00072-SPC-NPM Document 217-2 Filed 11/11/14 Page 12 of 30 PageID 6078
Case: 14-12156 Date Filed: 11/06/2014 Page: 42 of 90

(reversing Klein conspiracy convictions where government’s case was predicated
on circumstantial evidence and there was no “substantial evidence that the
defendants both agreed to and intended to impede the IRS”; such proof must be
based on “reasonable inferences and not mere speculation”); United States v.
Pritchett, 908 F.2d 816, 821-22 (11th Cir.1990) (reversing Klein conspiracy
convictions where efforts at concealment of income were reasonably explainable in
terms other than motivation to evade taxes and “[n]o statements of co-conspirators
manifesting a desire to evade taxes were presented”).

3. Subscribing to False Tax Returns (Counts Six, Eight, and Nine)

As noted above, the jury found that Hough’s tax returns for 2005, 2007, and
2008 were knowingly and willfully false in two respects: that (1) Hough
substantially underreported her total income on Line 22; and (2) Hough failed, on
Schedule B, Part III, Lines 7A and 7B, to report that she had a financial interest in,
or signature authority over, foreign financial accounts.

a. Substantial Underreporting of Total Income

Government expert Maurer’s analysis focused on three categories of total
income — taxable interest, ordinary dividends, and capital gains or loss — emanating
from the New Vanguard and Top Fast accounts at UBS, Fortis, and LLB, and (for
2005 only) the individual Hough UBS account. (Exh. 301; Appx. 285-88). For
2007, Maurer also included the capital gains earned by New Vanguard from the

April 2007 sale of the Round Hill property and the capital gains earned by the Saba

-31-
Case 2:13-cr-00072-SPC-NPM Document 217-2 Filed 11/11/14 Page 13 of 30 PagelD 6079
Case: 14-12156 Date Filed: 11/06/2014 Page: 43 of 90
Foundation from the April 2007 sale of the Saba School; this required Maurer both
to compute the basis of each asset and to determine the sales price of each asset
based on the allocation in Equinox’s Flow-of-Funds memorandum. (10/17/13 RT
18; Exh. 1OF; Appx. 248, 654).

For the government to prove that Hough knew that she was substantially
underreporting her taxable interest, ordinary dividends, and capital gains for a
particular year, thereby intending to do something she knew violated the law, the
government at a minimum had to prove beyond a reasonable doubt all four of the
following facts: (1) Hough owned the Saba Foundation and the New Vanguard,
Top Fast, and Patricia Hough accounts’; (2) those accounts generated taxable
interest, ordinary dividends, and capital gains in that tax year; (3) those taxable
interest, ordinary dividends, and capital gains were reportable by Hough on her
U.S. tax returns; and (4) Hough knew that those accounts generated taxable
interest, ordinary dividends or capital gains in a particular tax year such that she
had to report that income on her tax return for that year. The only fact that
Maurer’s report and testimony arguably established, however, was the second of
the four points above; with respect to points one (ownership), three (reportability),

and four (knowledge), the government failed to introduce evidence sufficient to

 

*° Maurer testified unequivocally that if Hough did not own the accounts or the
schools, then any income from the accounts or the sale of the schools would not be
included in her income tax computations. (10/17/13 RT 224; 10/18/13 RT 120-21,
138; Appx. 724, 775-76, 779A).

-32-
Case 2:13-cr-00072-SPC-NPM Document 217-2 Filed 11/11/14 Page 14 of 30 PagelD 6080
Case: 14-12156 Date Filed: 11/06/2014 Page: 44 of 90
allow a rational juror to find those facts beyond a reasonable doubt, and therefore
to conclude beyond a reasonable doubt that Hough knowingly and willfully
substantially underreported her total income for the years charged.
(1) The government failed to prove that Hough owned the
Saba Foundation, New Vanguard, Top Fast, and the

funds in those entities’ foreign bank accounts and the
Patricia Hough UBS account

 

 

(a) Hough did not own the Saba Foundation

Although Maurer’s tax analysis for more than four years before the trial had
been based on Fredrick and Hough not owning the Saba Foundation, she testified
that she changed her calculations based on evidence she heard for the first time at
trial that Fredrick and Hough owned the Saba Foundation. (10/17/13 RT 236, 257-
60; 10/18/13 RT 28; Appx. 734, 739-42, 744). Maurer attributed her mid-trial
about-face to certain documents presented during the testimony of Jean Marc
Futterknecht, the UBS custodian, and Mario de Castro, a former lawyer with the
firm that had represented a potential buyer of the schools in an unsuccessful bid in
2003. Specifically, Maurer identified only Government Exhibits 3S (p.23), 3EE
(p.86), 6B, 6D, 6F, 6H, and 8B as having caused her radical change in position.”!
(10/18/13 RT 40-41, 116-17; Appx. 748-49, 773-74). None of those documents,

even when viewed in the light most favorable to the government, individually or

 

*! Maurer also identified Government Exhibit 7II as supporting her reversal, but
recanted after admitting she had never seen the document, which had not been
admitted into evidence or published to the jury. (10/18/13 RT 41, 78-81; Appx.
749, 767-70).

-33-
Case 2:13-cr-00072-SPC-NPM Document 217-2 Filed 11/11/14 Page 15 of 30 PageID 6081
Case: 14-12156 Date Filed: 11/06/2014 Page: 45 of 90

collectively established beyond a reasonable doubt that Hough owned the Saba
Foundation:

@ The referenced pages of Exhibits 3S and 3EE were client notes in the
UBS files. Exhibit 3S stated, “They own medical colleges in the Caribbean,
University of Saba.... Funds were moved to us from UBS Bahamas, which no
longer takes U.S. clients, and originate from their schools/consulting business.”
(Appx. 170). Exhibit 3EE stated, “The client and her husband are consultants, own
and operate medical schools.” (Appx. 192B). These notes were undated,
unsigned, entered into the UBS system by some unknown person, and contained at
least one glaring inaccuracy in referring to the “University of Saba,” which does
not exist. (10/18/13 RT 74-77; Appx. 763-66). UBS representative Futterknecht,
who had no involvement with the accounts at issue here, testified that such notes
can be entered by client advisors, assistants, external third parties, and others, and
that he had no idea who made any of the entries in this case. (10/8/13 RT 69-71;
10/9/13 RT 180; Appx. 298-300, 328). Maurer similarly did not know who wrote
the notes in question. (10/18/13 RT 74-76; Appx. 763-65). The unsourced and
unreliable notes were not in any way connected with Hough and cannot constitute
proof beyond a reasonable doubt of anything.

@ While Fredrick claimed in an initial letter to the 2003 prospective buyers
to be the sole owner of the Saba University School of Medicine, MUA and EIC
(Exh. 6B; Appx. 211), there was no evidence that that letter was ever reviewed,

34.
Case 2:13-cr-00072-SPC-NPM Document 217-2 Filed 11/11/14 Page 16 of 30 PageID 6082
Case: 14-12156 Date Filed: 11/06/2014 Page: 46 of 90
approved, signed, or even seen by Hough. (10/10/13 RT 133-34; Appx. 387-88).
Moreover, Fredrick’s statement that he was the sole owner, if accepted, would
negate rather than prove Hough’s ownership.

@ The letter of intent (Exh. 6D; Appx. 213) and agreement (Exh. 6F; Appx.
219) that were signed by Hough in connection with the aborted 2003 sale stated
only that Fredrick and Hough “directly or indirectly . . . have the controlling
interest in” or “own or control” the Saba Foundation, MUA, and EIC — which by
the plain terms of those documents does not prove ownership. The evidence
showed that MUA was a for-profit Nevis corporation of which Fredrick owned a
majority share at that time; that Fredrick at all times owned 100% of EIC; and that
Fredrick, by virtue of his position on the boards of directors of the Saba
Foundation and MUA, was in a position to control the schools. (10/10/13 RT 132,
147; 10/11/13 RT 22, 207-08; 10/18/13 RT 33-35; Appx. 386, 391, 435, 457-58,
745-47). Thus, the cited language is wholly consistent with Hough’s own lack of
ownership.

e As for the legal memorandum prepared by de Castro for his clients, that
hearsay memo — which the evidence failed to show was ever reviewed, approved,
signed, or even seen by Hough, and which was based on information received from
the potential buyers rather than from Hough and Fredrick — referenced the sellers
as owning the schools but also stated that it was a “Preliminary Assessment &
Draft” that was “subject to further... research and due diligence,” which de

-35-
Case 2:13-cr-00072-SPC-NPM Document 217-2 Filed 11/11/14 Page 17 of 30 PageID 6083
Case: 14-12156 Date Filed: 11/06/2014 Page: 47 of 90
Castro testified never occurred.” (Exh. 8B p.2; 10/10/13 RT 101, 104, 133; Appx.
233, 384-85, 387).

@ Finally, Exhibit 6H, the last document cited by Maurer, is an email from
Fredrick to the potential buyers that mentions absolutely nothing about ownership
of anything. (Appx. 221A).

Indeed, the overwhelming and unrebutted evidence at trial showed that no
one did or could own the nonprofit Netherlands-Antilles Saba Foundation. Not
one percipient witness testified that Fredrick and Hough owned the Saba School or
the Saba Foundation. CPA Jerry Schneider, a government witness, testified that no
individuals own a foundation and that, to his knowledge, the Saba Foundation
could not be owned by anybody. (10/10/13 RT 233-34, 238; Appx. 405-06, 410).
CPA Thomas Murtha, another government witness, testified that Hough did not
own the medical schools, but rather that she and Fredrick administered schools that
were owned by a nonprofit foundation. (10/9/13 RT 237; 10/10/13 RT 20-21;
Appx. 342, 354-55). CPA David Minchenberg, another government witness,
similarly testified that, to his understanding, a nonprofit foundation could not be
owned by an individual. (10/11/13 RT 49; Appx. 439). Dr. Paul Dalbec, a

government witness who had been a member of the board of trustees of the Saba

 

~ The absence of due diligence on the ownership of the schools was evidenced by
the fact that the memorandum identified the Saba School of Medicine Foundation
as “Saba University Netherlands Antilles,” a name it never had. (Exh. 8B p.3;
10/10/13 RT 237; Appx. 234, 409).

-36-
Case 2:13-cr-00072-SPC-NPM Document 217-2 Filed 11/11/14 Page 18 of 30 PagelD 6084
Case: 14-12156 Date Filed: 11/06/2014 Page: 48 of 90

School for 19 years, testified that the school was owned by the Saba Foundation
and not by any individual. (10/15/13 RT 113, 118-19; Appx. 522, 524-25). Dr.
Alan Gruber, a former student and faculty member at the Saba School, testified
that no one owned the school because it was a nonprofit organization. (10/17/13
RT 153; Appx. 688). Steven Rodger, a government witness whose firm bought the
schools in 2007, testified that the Saba School was owned by the Saba Foundation
and that Fredrick was only the “manager” of the school. (10/16/13 RT 9-10, 12,
18, 31-32, 133; Appx. 578-79, 581, 587, 600-01, 631). Mario de Castro, the
government witness on whose testimony Maurer purported to rely in concluding
that Hough and Fredrick owned the schools, testified that he did not know whether
anyone could actually own the Saba Foundation. (10/10/13 RT 136; Appx. 390).
Luis Rivera, a 24-year veteran of the IRS criminal investigation division, testified
that it would be impossible for anyone to own the Saba Foundation. (10/22/13 RT
190; Appx. 967). And most significantly, Antoine Solagnier, the former Governor,
Head of Finance, and Acting Public Prosecutor of the island of Saba and former
Registrar of the Common Courts of the Netherlands-Antilles, testified that the Saba
Foundation was a Netherlands-Antilles foundation, that “[t]here is no such thing as
an owner of a foundation,” that this is true for every foundation under Netherlands-
Antilles law, and that the Saba Foundation (like every other Netherlands-Antilles
foundation), by definition could not be owned by any individual. (10/18/13 RT
220-23, 229-31; Appx. 800-03, 806-08). The government introduced no evidence

37-
Case 2:13-cr-00072-SPC-NPM Document 217-2 Filed 11/11/14 Page 19 of 30 PageID 6085
Case: 14-12156 Date Filed: 11/06/2014 Page: 49 of 90
to contradict this unequivocal explanation of Netherlands-Antilles law.
Nevertheless, despite this plethora of consistent evidence to the contrary, Maurer
based her tax computations on her “opinion” that Fredrick and Hough owned both
the schools and the Saba Foundation. (10/18/13 RT 163; Appx. 783).

This is not a question of Maurer’s credibility. Rather, it is a question of the
jury accepting what the unrebutted evidence at trial showed to be a factual and
legal impossibility. The apparent belief of Maurer, who conceded that she had no
expertise in Netherlands-Antilles law dealing with nonprofit foundations (10/17/13
RT 209; Appx. 719), that the laws of the Netherlands-Antilles somehow did not
apply to this particular Netherlands-Antilles foundation cannot support a jury
finding that Hough (or anybody else) owned the Saba Foundation. And if Hough
did not own the Saba Foundation, then she was not liable for any total income
adjustments for the Saba Foundation. No rational juror could have found

otherwise.

 

*3 Apart from witnesses, the documents introduced at trial thoroughly refuted any
notion that Fredrick and Hough owned the Saba Foundation. The accounting
methods in the independently audited financial statements for the Saba School,
introduced by the government, corroborated that the Saba School was run as a
nonprofit foundation. (10/22/13 RT 181-88; Appx. 958-65). Credit card records
showed that Hough was fastidious about reimbursing the Saba Foundation for all
personal expenses incurred on the credit card bills it paid for her — an act that
would have been utterly pointless if Hough believed that she “owned” the
Foundation and its assets. (Exh. 205; 10/22/13 RT 6-8; Appx. 294-95, 930-32).
-38-
Case 2:13-cr-00072-SPC-NPM Document 217-2 Filed 11/11/14 Page 20 of 30 PageID 6086
Case: 14-12156 Date Filed: 11/06/2014 Page: 50 of 90
(b) Hough Did Not Own New Vanguard or Top Fast
The government introduced no percipient testimony concerning the

ownership of New Vanguard and Top Fast, and the documents on which the
government relied conclusively showed that Hough was not an officer, director,
shareholder, representative, or authorized signatory for either entity. (Exhs. 3C
pp.39-41, 3CC pp.16, 20; Appx. 159-61, 191-92). There was not one document
that showed Hough communicating on either entity’s behalf with Luetolf,
Singenberger, or anyone at Fortis or LLB (where New Vanguard and Top Fast also
had accounts). The only documents in the voluminous New Vanguard and Top
Fast bank files that even mentioned Hough’s name were the single-page Form As
on which her name was typed as a beneficial owner of the accounts but that were
never signed or approved by Hough. (Exhs. 3C p.1, 3CC p.2; 10/18/13 RT 61-64,
69-72; Appx. 157, 189, 750-53, 758-61). Moreover, there was no evidence that
Hough ever initiated a single transaction on behalf of New Vanguard or Top Fast,
directed or approved of any transaction initiated by anyone else, or authorized or
signed any email, correspondence, or other document on either entity’s behalf.
(10/21/13 RT 145-46; Appx. 886-87). Whether or not the jury accepted the
premise that the Hong Kong entities were set up as additional asset protection for
the Saba Foundation’s funds, the record was simply bereft of evidence that would
have allowed a rational juror to find beyond a reasonable doubt that Hough owned
New Vanguard and Top Fast.

-39-
Case 2:13-cr-00072-SPC-NPM Document 217-2 Filed 11/11/14 Page 21 of 30 PagelID 6087
Case: 14-12156 Date Filed: 11/06/2014 Page: 51 of 90

(c) Hough Did Not Own the Funds in the Patricia
Hough UBS Account

Finally, with respect to the Patricia Hough UBS account, the evidence was
undisputed that during the 15 months (April 2004 to July 2005) that this account
was open and contained over $5 million, Hough did not initiate one transaction
concerning the account, did not take any funds from the account, and made no
deposits to the account. (10/21/13 RT 167-68; Appx. 897-98). Every penny of
funds that had been transferred into the Patricia Hough account and that emanated
initially from the Saba Foundation’s Bahamanian accounts was, in turn, transferred
to the New Vanguard UBS account set up by Luetolf and Singenberger. (10/17/13
RT 43; Appx. 655). The only writings by Hough on the account opening
statements were her signatures on various forms; all the rest of the handwritten
entries on the forms were not Hough’s handwriting, and there was no evidence that
any information on any of the forms was explained to Hough prior to her signing
them. (10/21/13 RT 124-28, 161-62, 164-65; Appx. 876-80, 891-92, 894-95).
This evidence was insufficient for a rational juror to conclude beyond a reasonable
doubt that the money in the account was Hough’s personal money and not, as she
testified (and as government witness Dalbec corroborated), the Saba Foundation’s

money.

-40-
Case 2:13-cr-00072-SPC-NPM Document 217-2 Filed 11/11/14 Page 22 of 30 PagelD 6088
Case: 14-12156 Date Filed: 11/06/2014 Page: 52 of 90

(2) The government failed to prove that the foreign income
earned by the Saba Foundation, New Vanguard, Top Fast
and Patricia Hough accounts and transactions was
reportable on Hough’s U.S. tax returns

Assuming arguendo that a rational juror could have found beyond a
reasonable doubt that Hough owned the funds in the Saba Foundation, New
Vanguard, Top Fast, and Patricia Hough accounts, the government was next
required to prove beyond a reasonable doubt that the taxable interest, ordinary
dividends and capital gains earned in those foreign accounts or through foreign-
based transactions were reportable on Hough’s U.S. tax returns. The only evidence
that the jury heard on this issue, however, was directly to the contrary. CPA David
Minchenberg, the former accountant for the schools and a government witness,
testified about an email that he sent to Hough on December 23, 2004. In that
email, Minchenberg advised his client:

Generally, US citizens are allowed to own interest(s) in foreign

entities. Usually, the only time a tax is “triggered” is when the US

citizen brings money (in the form of profits, gains, etc.) back into

the US. That said, if the citizen is the beneficiary of said profits,

gains, etc. and keeps those funds “off-shore” and doesn’t bring

them back into the US, then, there are generally no taxes
incurred by the US citizen.

(Exh. 7S (emphasis added); Appx. 230). That email was the only evidence

introduced at trial regarding U.S. taxability of foreign bank accounts.”

 

** At the sentencing hearing, Maurer confirmed the accuracy of Minchenberg’s
advice. (5/1/14 RT 150; Appx. 1027).
-4]-
Case 2:13-cr-00072-SPC-NPM Document 217-2 Filed 11/11/14 Page 23 of 30 PagelID 6089
Case: 14-12156 Date Filed: 11/06/2014 Page: 53 of 90

Maurer’s analysis calculated what was earned in each of the Swiss accounts,
but performed no tracing to see whether any of the taxable interest, ordinary
dividends, and capital gains earned in the Swiss accounts for the Saba Foundation,
New Vanguard, Top Fast, and Patricia Hough were ever repatriated to the United
States. Indeed, the only tracing of which any evidence was presented at trial was
performed by defense expert witness Luis Rivera, who determined that the funds
from the 2007 sale to Equinox still reside today with the Saba Foundation in
offshore accounts that total over $54 million. (10/22/13 RT 157-65; Appx. 944-
52). That expert testimony was unrebutted by any other evidence.

With respect to the Patricia Hough UBS account, while Hough is obviously
not a “foreign entity” like New Vanguard, Top Fast, and the Saba Foundation, the
last two sentences of Minchenberg’s above-quoted advice were plainly broad
enough to cover personal assets where profits and gains from those assets are kept
offshore and not brought into the United States. Moreover, the evidence was
undisputed that not one penny in the Patricia Hough UBS account was moved
anywhere during the 15 months that the account remained open.

Because the only evidence the government presented of whether Hough had
to report interest, dividends, and capital gains that originated abroad and stayed
abroad was that such income was not reportable, no rational juror could have
found beyond a reasonable doubt that any income derived from the foreign
accounts was reportable on Hough’s tax returns.

-42-
Case 2:13-cr-00072-SPC-NPM Document 217-2 Filed 11/11/14 Page 24 of 30 PagelD 6090
Case: 14-12156 Date Filed: 11/06/2014 Page: 54 of 90

(3) The government failed to prove Hough’s actual
knowledge that any of the foreign accounts or
transactions earned taxable interest, ordinary dividends,
or capital gains that were reportable on her U.S. tax
returns

 

 

 

 

Even if a rational juror could somehow have found beyond a reasonable
doubt (1) that Hough owned the Saba Foundation, New Vanguard, and Top Fast,
(2) that those entities and the Patricia Hough UBS account earned taxable interest,
ordinary dividends and capital gains, and (3) that such income was reportable on
Hough’s tax returns for the years at issue, that would sill be insufficient to support
Hough’s convictions. For in order to prove that Hough willfully violated a known
legal duty, the government was also required to establish beyond a reasonable
doubt that Hough Anew that the accounts earned taxable interest, ordinary
dividends, and capital gains, and that such income was reportable. On this
essential point, the trial record is silent.

No testimony or other evidence was presented demonstrating that Hough
knew that the accounts and transactions that formed the basis for Maurer’s report
generated any interest, dividends or capital gains. The bank records showed that
the New Vanguard and Top Fast statements (from UBS, Fortis, and LLB) went to
Sinco Treuhand AG in Zurich, and the Patricia Hough UBS account and Saba
Foundation LLB statements were retained by the banks; there was no evidence that
any statements were ever sent to or reviewed by Hough. (10/9/13 RT 9; Exhs. 3C

p.37, 3R p.2, 3CC p.3, 4G p.9, 4H pp.1-2, 4K p.9; Appx. 158, 167, 190, 199, 201-

-43-
Case 2:13-cr-00072-SPC-NPM Document 217-2 Filed 11/11/14 Page 25 of 30 PageID 6091
Case: 14-12156 Date Filed: 11/06/2014 Page: 55 of 90

02, 209, 302). There was no evidence that Hough instructed any trades in any of
the accounts or that anyone ever communicated with Hough about whether the
accounts earned money, stayed the same, or lost money. Hough’s only instruction
to Luetolf with respect to the UBS account in her name was to close it down and
transfer the money to another account. (Exh. 3S p.9; Appx. 169).

With respect to the capital gains earned by New Vanguard from the April
2007 Round Hill transaction and by the Saba Foundation from the April 2007 sale
of the Saba School, there is similarly no evidence that Hough actually knew
whether those transactions generated any capital gains. As Maurer testified, to
determine whether any reportable capital gains occurred, one has to know the cost
basis for the asset and subtract that basis from the sales price. (10/17/13 RT 18;
Appx. 654). Thus, for example, if the Round Hill property had been allocated only
$3 million as part of the overall purchase price of the schools, then the over $3
million basis calculated by Maurer for that property would have resulted in there
being no capital gain from the sale of Round Hill. (10/17/13 RT 134; Appx. 681).

Even affording full credit to Maurer’s calculations of the capital gains for

the April 2007 Round Hill and Saba School of Medicine sales, there is not a
scintilla of evidence in the trial record that Hough knew the sales prices
allocated to each asset, knew the basis for each asset, and consequently knew
whether any capital gains for each asset were earned at all. As government
witness Stephen Rodger testified, Hough had no involvement in deciding the

-44-
Case 2:13-cr-00072-SPC-NPM Document 217-2 Filed 11/11/14 Page 26 of 30 PageID 6092
Case: 14-12156 Date Filed: 11/06/2014 Page: 56 of 90

allocation of the sales proceeds, which was negotiated solely by Fredrick and the
attorneys. (10/16/13 RT 14-15, 39, 87-88; Appx. 583-84, 605, 612-13). There is
no evidence in the record that Fredrick (or anyone else) ever discussed the
allocation of funds from the sale with Hough or that she ever even saw the Flow-
of-Funds document. (Exh. LOF; 10/21/13 RT 251-52; Appx. 248, 919-20). No
rational juror could have found beyond a reasonable doubt that Hough knowingly
and willfully understated her income in light of the government’s failure to
introduce any testimony or documentary evidence proving that she knew there was
any income to understate.”

Moreover, even had the government proved that Hough knew that the
accounts and transactions considered by Maurer generated interest, dividends, or
capital gains, the trial record contains no evidence that Hough knew such foreign-
based income was reportable on her tax returns. Without such knowledge, Hough
could not have willfully violated a known legal duty by failing to include that
income. As discussed above, the only evidence of what was communicated to

Hough in this regard was CPA Minchenberg’s advice that such income was not

 

*> As discussed further in Section VI.D.3 infra, Maurer testified at the sentencing
hearing that she was aware of no evidence that Hough knew of the existence of
interest or dividends, knew the basis for any of the attributed capital gains, or was
aware of the sales price allocated to the Round Hill property in the 2007 sale.
(5/1/14 RT 101-06, 109-10, 113-15; Appx. 1014-24). Given that Maurer sat
through the entire trial to testify as a summary witness (10/17/13 RT 244-45;
Appx. 735-36), her testimony at the sentencing hearing is a concession that no

evidence as to any of these points was introduced at trial.
-45.
Case 2:13-cr-00072-SPC-NPM Document 217-2 Filed 11/11/14 Page 27 of 30 PageID 6093
Case: 14-12156 Date Filed: 11/06/2014 Page: 57 of 90

reportable as long as it remained offshore. For this purpose, it is irrelevant whether
Minchenberg’s counsel was accurate or inaccurate; as the district court instructed
the jury, “[e]vidence that the defendant, in good faith, followed the advice of an
accountant or an attorney would be inconsistent with [] an unlawful intent.”
(10/23/13 RT 156; Appx. 1005). Because the only evidence the government
presented of whether Hough knew that she had to report interest, dividends, and
capital gains that originated abroad and stayed abroad was that Minchenberg
specifically told her that she did not need to report such income, no rational juror
could have found beyond a reasonable doubt that she knew the income was
reportable and intended to violate the law by failing to include it on her tax returns.

b. Schedule B, Lines 7a and 7b

Line 7a of Schedule B asked the following question for each tax year at
issue, after which it gave the choices “Yes” or “No”: “At any time during [tax
year], did you have an interest in or a signature or other authority over a financial
account in a foreign country, such as a bank account, securities account, or other
financial account? See page B-2 for exceptions and filing requirements for Form
TD F 90-22.1.” (emphasis added). Line 7b stated as follows for each tax year: “If
‘Yes’ [to question 7a] enter the name of the foreign country.””° (Exhs. 1D p.5, 1G

p.5, lH p.5; Appx. 105, 116, 125). Thus, the question on line 7a was not “Do you

 

*® Hough’s return for each of the years in question answered the question on line 7a
“No” and consequently did not list any foreign country in response to the question
on line 7b.

-46-
Case 2:13-cr-00072-SPC-NPM Document 217-2 Filed 11/11/14 Page 28 of 30 PagelD 6094
Case: 14-12156 Date Filed: 11/06/2014 Page: 58 of 90
have an interest in or a signature or other authority over a foreign bank account”;
rather, the question in its entire context asked whether the taxpayer had an interest
in or a signature or other authority over a foreign account that did not fall within
the “exceptions” on “page B-2.” If any of those exceptions applied in Hough’s
case, then her answer of “No” was a true and correct answer.

Thus, to prove that Hough knowingly and willfully answered the question on
line 7a falsely, the government had to prove both (1) that Hough objectively had
“an interest in or a signature or other authority over” a foreign financial account
that did not fall within the “exceptions” on “page B-2”, and (2) that Hough
subjectively knew she had “an interest in or signature or other authority over” a
foreign financial account that did not fall within the “exceptions” on “Page B-2.”
On both the objective and subjective levels, this required at a minimum that the
government introduce evidence of what the “page B-2 exceptions” were for each
tax year at issue. Yet the record is devoid of any documentary or testimonial
evidence on this point. As Maurer testified, the exceptions are not delineated on
Schedule B or anywhere else in Hough’s tax returns, but are found in a separate
IRS instruction document. (10/18/13 RT 152-53; Appx. 780-81). The government
failed to introduce that document, any other record that listed the page B-2

exceptions, or even any testimony from the government’s expert or any other

_47-
Case 2:13-cr-00072-SPC-NPM Document 217-2 Filed 11/11/14 Page 29 of 30 PageID 6095
Case: 14-12156 Date Filed: 11/06/2014 Page: 59 of 90

witness as to what the page B-2 exceptions were.”’ In light of this complete
absence of proof, no rational juror could have found beyond a reasonable doubt
either that Hough’s negative answers on line 7a were objectively false or that
Hough subjectively knew the answer was false and intended to violate the law.

Furthermore, in any prosecution for making a false statement, the law
requires at a minimum that the question to which the defendant responded be clear
and unambiguous. See Bronston v. United States, 409 U.S. 352, 362, 93 S. Ct. 595
(1971). In United States v. Manapat, 928 F.2d 1097 (11th Cir. 1991), this Court
affirmed the dismissal of an indictment charging the defendant with having
knowingly and willfully made a false statement to the Department of
Transportation. Although it was “undisputed that defendant's answers to the
questions were literally false,” the manner in which the questions were listed
rendered them “too ambiguous to allow a jury to speculate as to the defendant's
intentions at the time she filled out the application form.” Jd. at 1100-01.
Accordingly, this Court held that “the government may not provide someone with
a confusing and ambiguous form and then prosecute when the answers are

inaccurate.” Jd. at 1102.

 

*7 Thomas Murtha, Hough’s accountant and tax preparer, testified not only that he
never showed Hough a Schedule B or discussed it with her, but also that he had no
idea what the exceptions on page B-2 were (or even where to find page B-2) and
therefore never discussed those exceptions with her. (10/10/13 RT 50-51, 58-60;
Appx. 362-63, 368-70). Maurer testified that she had no idea if Hough knew
whether or not the exceptions applied. (10/18/13 RT 156; Appx. 782).

-48-
Case 2:13-cr-00072-SPC-NPM Document 217-2 Filed 11/11/14 Page 30 of 30 PageID 6096
Case: 14-12156 Date Filed: 11/06/2014 Page: 60 of 90

The problems with Schedule B as it existed at the time of the tax returns in
this case are comparable to those in Manapat. The failure to define anywhere in
Schedule B (or anywhere else in the Form 1040) the “exceptions” that were
incorporated into the question on line 7a but were contained in some unidentified,
extraneous document rendered that question “fundamentally ambiguous.””* /d. at
1101. In light of this fatal ambiguity, no rational juror could have found beyond a
reasonable doubt that Hough’s responses to the question on line 7a were
knowingly and willfully false.

For all of the above reasons, the evidence was insufficient to support the
convictions on counts six, eight, and nine with respect to both understatement of

income and Schedule B, and those convictions must be vacated.

 

*8 The Manapat court found that the ambiguity of the form was made more evident
by the government’s own doubts about the clarity of the form, as reflected in an
internal Department of Transportation memo recommending that the form be
changed. Manapat, 928 F.2d at 1101 n.3. In this regard, it should be noted that the
IRS, beginning in 2009 (the year after the last tax return at issue in this case),
revised Schedule B to list the instructions (including the exceptions) on page 2 of
the schedule itself, and, beginning in 2011, further revised line 7a of Schedule B to
separate the reference to “exceptions” into an entirely separate question from the
one asking about interest in or authority over a foreign financial account. (CR 138
Exh. A; Appx. 49).

-49.
